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                          UNITED STATES DISTRICT COURT 
                          FOR THE DISTRICT OF COLUMBIA 
 
 
ANDRE RICHARDSON,                                  
aka ANDREA RICHARDSON,                             
                                                   
          Plaintiff,                               
                                                          Civil Action No. 16‐209 (CRC) 
     v. 
 
DISTRICT OF COLUMBIA, et al., 
 
          Defendants. 
 
 
                 DEFENDANTS’ OPPOSED MOTION TO ENLARGE 
                         TIME TO FILE EXPERT DISCLOSURES 
                                               
       Pursuant to Fed. R. Civ. P. 6(b)(1) and 7(b), the District of Columbia Defendants 

(“Defendants”)  move  the  Court  with  good  cause  to  enlarge  the  time  to  submit 

Defendants’  expert  disclosures  up  to  and  including  May  3,  2017.    The  District’s 

disclosures are due on Tuesday,  April 4, 2017.    Discovery  closes  on May 1,  2017,  and 

the next court date is May 4, 2017 at 10:00 a.m. 

         The  grounds  for  this  motion  are  more  fully  set  forth  in  the  accompanying 

memorandum of points  and authorities incorporated  herein  by reference.  Defendants 

have also attached a proposed order for the Court’s consideration. 

                                               

                                               

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                                   LCvR 7(m) Certification 

       Undersigned  counsel  represents  that  opposing  counsel  does  not  consent  to  the 

relief sought in this motion.   


                                           Respectfully submitted, 
 
                                           KARL A. RACINE 
                                           Attorney General for the District of Columbia 
                                            
                                           GEORGE C. VALENTINE 
                                           Deputy Attorney General, Civil Litigation 
                                           Division 
                                            
                                           /s/ Michael K. Addo_____________________ 
                                           MICHAEL K. ADDO [1008971] 
                                           Chief, Civil Litigation Division Section IV 
                                            
                                           /s/ Martha J. Mullen____________________ 
                                           MARTHA J. MULLEN [419036] 
                                           Senior Assistant Attorney General 
                                           441 Fourth Street, NW Suite 630 South 
                                           Washington, DC 20001 
                                           (202) 724‐6612 
                                           martha.mullen@dc.gov 
                                            
                                           Counsel for Defendants 

 

 
 




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                          UNITED STATES DISTRICT COURT 
                           FOR THE DISTRICT OF COLUMBIA 
 
 
ANDRE RICHARDSON,                                 
aka ANDREA RICHARDSON,                            
                                                  
          Plaintiff,                              
                                                         Civil Action No. 16‐209 (CRC) 
     v. 
 
DISTRICT OF COLUMBIA, et al., 
 
          Defendants. 
 
 
            MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION 
              TO ENLARGE THE TIME TO FILE EXPERT DISCLOSURES 
              
       The  Parties  have  completed  all  written  discovery  but  depositions  remain 

outstanding  along  with  Defendants’  expert  disclosures.    Defendants  have  agreed  to 

make  non‐party  witnesses  available  in  the  morning  on  April  12,  2017,  at  opposing 

counsel’s office.  The District has noticed Plaintiff’s deposition for April 13, 2017, at the 

Office  of  the  Attorney  General,  commencing  at  10:00  am,  but  Plaintiff  has  not  had 

sufficient time to confirm that date.  

       Before  the  District  can  order  goods  or  services  it  must  obtain  an  approved 

purchase  order  pursuant  to  the  Anti‐Deficiency  Act.    See  D.C.  Code  §  47–355.01  et 

seq.   Undersigned  counsel  has  submitted  a  request  to  obtain  funding  for  all  potential 

experts,  however,  the  Finance  Office  has  not  finalized  the  order  for  one  expert. 



 
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       Furthermore,  before  issuing  a  report,  Defendant’s  psychologist/penologist  and 

psychiatrist  need  an  opportunity  to  review  Plaintiff’s  deposition  testimony;  and 

Defendant’s  psychiatrist  needs  to  review  additional  medical  records  relevant  to  her 

assessment of the Plaintiff.  

       Fed. R. Civ. P. 6(b)(1) provides that “[w]hen an act may or must be done within a 

specified time, the court may, for good cause, extend the time:  with or without motion 

or notice if the court acts, or if a request is made, before the original time or its extension 

expires . . . .”  This motion is filed prior to the expiration of the prescribed period, is for 

good cause, and granting this motion will not unduly prejudice the Court or the parties.  

Rather, it will serve the interests of justice.  Indeed, without an opportunity to present 

experts  who  have  had  an  opportunity  to  review  all  of  the  relevant  information, 

Defendants will not be able to mount a defense. 

                                         CONCLUSION 

       For  these  reasons,  Defendants  ask  the  Court  to  enlarge  the  time  for  its  expert 

disclosures  up  to  and  including  May  3,  2017  with  discovery  to  close  on  May  21,  2017 

and the post‐discovery conference to occur on a date thereafter. 

                                             Respectfully submitted, 
 
                                             KARL A. RACINE 
                                             Attorney General for the District of Columbia 
                                              
                                             GEORGE C. VALENTINE 
                                             Deputy Attorney General, Civil Litigation 
                                             Division 


 
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                               /s/ Michael K. Addo_____________________ 
                               MICHAEL K. ADDO [1008971] 
                               Chief, Civil Litigation Division Section IV 
                                
                               /s/ Martha J. Mullen____________________ 
                               MARTHA J. MULLEN [419036] 
                               Senior Assistant Attorney General 
                               441 Fourth Street, NW Suite 630 South 
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                         UNITED STATES DISTRICT COURT 
                          FOR THE DISTRICT OF COLUMBIA 
 
 
ANDRE RICHARDSON,                               
aka ANDREA RICHARDSON,                          
                                                
          Plaintiff,                            
                                                       Civil Action No. 16‐209 (CRC) 
     v. 
 
DISTRICT OF COLUMBIA, et al., 
 
          Defendants. 
 
 
                                          ORDER 
 
       Upon consideration of Defendants’ Motion to Enlarge the Time to File its Expert 

Disclosures and the entire record herein, it is this _____ day of April 2017 hereby 

       ORDERED that the Defendants’ Motion is GRANTED; and it is further 

       ORDERED that Defendants’ expert disclosures are due on or before May 3, 2017; 

and it is further  

       ORDERED that discovery shall close on May 21, 2017; and it is further 

       ORDERED  that  the  parties  shall  appear  for  a  post–discovery  status  conference 

on a date to set by the Court. 

                                           _________________________________________ 
                                           DISTRICT COURT JUDGE CHRISTOPHER R. COOPER  




 
